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                                                               United States Bankruptcy Court
                                                      Northern District of Florida, Gainesville Division
    In re   Prioria Robotics, Inc.                                                                         Case No.      18-10018
                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS1
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 Prioria Robotics Holdings, Inc.                                                    100%
 P.O. Box 358920
 Gainesville, FL 32635-8920




1
    The Debtors were parties to a New Market Tax Credit ("NMTC") transaction. The Debtors executed documents
        to unwind the transaction, which provide for, among other things, the cancellation of debt owed by PRH to
        Advantage Capital Florida NMTC Partners, VIII, LLC ("Advantage Capital"). The amount of debt
        assumes that the NMTC transaction has been unwound.
Sheet 1 of 2 in List of Equity Security Holders
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